
PER CURIAM.
In this direct criminal appeal, appellant seeks review of his convictions for burglary of a dwelling and grand theft. The only issue presented is whether the trial court committed reversible error when it denied appellant’s motion for a judgment of acquittal. Having carefully reviewed the evidence presented during the trial, we agree with appellant that, viewed in a light most favorable to the state, there was not competent evidence of guilt which was inconsistent with appellant’s reasonable hypothesis of innocence. Accordingly, because all of the evidence was circumstantial, the motion for judgment of acquittal should have been granted. E.g., State v. Law, 559 So.2d 187 (Fla.1989); Cox v. State, 555 So.2d 352 (Fla.1989).
We reverse appellant’s convictions, and remand with directions that a judgment of acquittal be entered and that appellant be discharged.
REVERSED and REMANDED, with directions.
ALLEN, WEBSTER and MICKLE, JJ., concur.
